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’ UNITED STATES BANKRUPTCY : -
COURT NORTHERN DISTRICT OF
OHIO EASTERN DIVISION
In re: ) Case No. 21-61491
)
Squirrels Research Labs LLC, ) Chapter 11
)
Debtor. ) Judge Tiiara N.A. Patton

MOTION FOR RECONSIDERATON OF PAUL BILLINGER. THE
ORDER APPROVING ALLOCATION OF PROCEEDS OF
COMPROMISE AND SETTLEMENT BETWEEN DEBTORS AND

CINCINNATI INSURANCE COMPANY (DOC, 359)

Paul Billinger, a party in interest herein, hereby submits this Motion for Reconsideration
to Order Approving Allocation of Proceeds of Compromise and Settlement Between Debtors

and Cincinnati Insurance Company (Doc. 359) (“Order”).

1. I respectfully submit that Paul Billinger does have standing in this matter as a
Party in Interest.
2. Section 1109(b) provides that a “party in interest ... may raise and may appear

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and be heard on any issue’” in a chapter 11 case.
3, While the Bankruptcy Code does not officially define what a Party of Interest is,

courts have consistently interpreted it broadly to include all persons whose pecuniary interests

are directly affected by the bankruptcy proceedings”.

TILUS.C. § 1£09(b)

? See In re River Bend-Oxford Assoc., 114 B.R. 111 (Bankr. D. Md. 1990), As the court explained: The phrase
"party in interest" can be found in 46 separate sections of the Bankruptcy Code, [yet is undefined in Section 101].
Th{e} lack of... definition was intentional. Congress'[s| failure to define party in interest specifically was discussed
by both Senator DeConcini and Representative Edwards during the proceedings preceding the enactment of the
Bankruptcy Code .... Senator”

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4. From an article on a recent US Supreme Court decision on the matter’: ‘The
Supreme Court interpreted section 1109(b) broadly based on the plain meaning of its text and
the context and history of the text and bankruptcy law. It found that by using the words “party”
and “interest,” the statute was intended to cover entities that are “potentially concerned with,
or affected by, a proceeding.” The historical context and purpose of both section 1109 and
federal bankruptcy law supported greater participation in reorganization proceedings and a
broad interpretation of section 1109(b).”

5. Professor Nathalie D. Martin at Ohio State University provides arguments for an
even broader interpretation of party in interest’. The article is included here to draw attention to
the relevant case law cited by this article and thereby reducing the number of cases cited in this
motion. Professor Martin states®:

“Section 1109 provides a list of parties who qualify as parties in interest, but the list
does not purport to be exclusive. In other words, the concept of "party in interest" is
defined by example. If one needed to be a creditor (or an equity holder) to have standing,
the word "including" would be superfluous in the statute, which would violate a primary
canon of statutory interpretation. Thus, on its face, section 1109 permits parties other
than debtors, creditors, and equity holders to assert rights in a bankruptcy case.”

6. Paul Billinger is a representative of Torea Consulting, LTD. (“Torea”), an entity
listed on SQRL’s schedules and who filed a proof of claim against SQRL’,

7. Paul Billinger is the sole shareholder of Torea, and so has a clear substantial

3 See In re Truck Insurance Exchange v. Kaiser Gypsum Company, Inc. No. 22-1079

4U.S. Supreme Court Ruling Gives Insurers with Financial Responsibility “Party in Interest’ Standing in Chapter 11
Cases Filed by Insured Entities, Pillsburylaw.com http;//alturl.com/nxuur

> Ohio State Law Journal, Noneconomic Interests in Bankruptcy: Standing on the Outside Looking In
https://shorturl .at/hxlzC

5 Thid., Page 451

7 Acknowledged by Debtor’s counsel in Second Reply (Doc. 338) Paragraph 5

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pecuniary interest®,

8, Issues brought forward in the Objections are matters of broad public interest and
should therefore be heard”. The Objections raise deep and troubling issues far-reaching beyond
the scope of the insurance settlement that must be dragged into the light and resolved, otherwise
the entire Bankruptcy process will be impugned.

9, Spoilation continued after the filing of the Objections with the Whistleblower
leak being the subject of a fraudulent takedown", rendering time of the essence.

[ request that the Order be withdrawn and the Objections filed by Paul Billinger be evaluated on

the merits.

Dated: July 25th, 2024
Respectfully submitted,

Alp L225

Paul Bil llinger “
E-Mail:
paul. billinger@toreaconsulting.com '

* See In re Amatex Corp., 755 F.2d 1034 (3d Cir. 1985): The Third Circuit Court of Appeals held that a party in.
interest is anyone who has a sufficient stake in the outcome of the proceeding, which includes those with a
pecuniary interest.

See In re Alpex Computer Corp., 71 F.3d 353, 356 (10th Cir. 1995). Although 11 U.S.C, § 1109(b) broadly defines
a “party in interest," the phrase “is generally understood to include alf persons whose pecuniary interests are directly
affected by the bankruptey proceedings." Yadkin Valley Bank & Trust Co. v. McGee (Inre Hutchinson), 5 F.3d
750, 756 (4th Cir, 1993) (quoting White County Bank v, Leavell (in re Leavell), 141 B.R. 393,

394 (Bankr, S.D, 11. 1992)),

» See In re Citizens Loan & Thrift Co., 7 B.R. 88, 90 (Bankr. N.D, lowa (980). The State of lowa was recognized as
a party in interest. The court relied on the official comment to section | 109, which stated that this section "continues
the broad concept of the absolute right to be heard in order to ensure fair representation in the case.”

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CERTIFICATE OF SERVICE
[hereby certify that a copy of the foregoing Motion for Reconsideration to Order Approving
Allocation of Proceeds of Compromise and Settlement Between Debtors and Cincinnati Insurance

Company (Doc. 359) was served by fax on July 25", 2024, as permitted by the Court,

With an emailed copy to Julie K. Zurn on July 25", 2024;

Julie K. Zurn

Brouse McDowell LPA

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Akron, Ohio 44311

jzurn@brouse.com

vy, /
PaulBil Hnger / ‘ |

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